Case 2:92-cv-02062-.]PI\/|-tmp Document 2025 Filed 07/11/05 Page 1 of 5 Page|D 9672

_ HLED BY D,c,
IN THE UNITED sTATEs DISTRICT coURT _
FOR THE WESTERN DISTRICT oF TENNESSEE 05 JUL | l PH |= 08

WESTERN DIvIsIoN
MMS il GOLlD
UNITED sTATEs oF AMERICA, ClE-'K U.§ DLST¥§CT count
Plaimiffs, W/D or »r-l, MPHS

V.

STATE OF TENNESSEE, ET AL.,
Defendants, and
NO.: 92-2062~D/A
PEOPLE F]RS'I` OF TENNESSEE, ET AL,
Intervenors,

PARENT-GUARDIAN ASSOCLATIONS
OF ARLINGTON DEVELOPMENTAL
CENTER,

Intervenors.

OR.DER EXTENDING TIME 'I`O ANSWER PEOPLE F[RS'I` MOTION
FOR MAN`DATORY PRELIMINARY AND PERMANENT INJUNCTION
ON BEHALF OF CLASS MEMBER SONDRA H.

 

Now on this day there comes on for consideration the joint motion of West
Tennessee Parent-Guardian Association (PGA), the United States of America and State
of Tennessee for extension of time to file their responses to the Motion of People First of
Termessee for Mandatory Preliminary and Permanent lnjunetion on Behalf of Class
Member Sondra H. There appearing to be no objection to the motion and good cause
being shown, the Court finds that the motion for extension of time should be granted and
that PGA, United States ofAmen`ca, and the State of Tennessee shall have to and

including July 26, 2005 to file their responses

com llance
Thls document entered on the docket sh_eet 12 f p
w\th Ftule 55 and/or 79(a) FF\CP on

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IT IS SO ORDERED this d #`day of July, 2005.

  

   

UN1T1`5D s'T'TAEs D1sTR1C COURT WESTNER 1sR1TOF TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 2025 in
case 2:92-CV-02062 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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